      EXHIBIT A




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                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        BRADLEY, BENJAMIN EDWARD H                                             Reg #:      50878-039
Date of Birth:           /1983              Sex:      M    Race:BLACK                      Facility:   MIL
Note Date:          06/05/2020 10:20        Provider: Fateh Hyder, Syed                    Unit:       B02


CCC Enroll - CCC Enroll encounter performed at Health Services.
Administrative Notes:
      ADMINISTRATIVE NOTE 1                       Provider: Fateh Hyder, Syed Regional Medical Director/NCRO
          Added to Hypertension CCC.

Added to clinic(s): Hypertension

Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Fateh Hyder, Syed Regional Medical Director/NCRO on 06/05/2020 10:21
Requested to be reviewed by Udegbunam, Ukamaka M NP-C.
Review documentation will be displayed on the following page.




Generated 06/05/2020 10:21 by Fateh Hyder, Syed         Bureau of Prisons - MIL                            Page 1 of 1
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                                                     Bureau of Prisons
                                                      Health Services
                                                     Clinical Encounter
Inmate Name: BRADLEY, BENJAMIN EDWARD H                                                       Reg #: 50878-039
Date of Birth:      /1983             Sex:      M   Race: BLACK                               Facility: MIL
Encounter Date: 06/05/2020 08:15      Provider: Udegbunam, Ukamaka M                          Unit:     B02


Mid Level Provider - Evaluation encounter performed at Health Services.
SUBJECTIVE:
    COMPLAINT 1                 Provider: Udegbunam, Ukamaka M NP-C
        Chief Complaint: Other Problem
        Subjective: Patient presents to health services for an evaluation of HTN, diagnosed 2015. Patient reports
                     that he has been diagnosed with HTN however currently taking no medication. Patient reports
                     that he does not like taking medication because it causes more problems. He reports that he
                     controls BP with diet. He reports " on and off " headaches. He denies fever, chills, cough,
                     N//V/D, chest pain, shortness of breath. Denies any other complaints at this time.

                      Patient allergies reviewed and updates applied during this visit if indicated. See Chart:
                      Allergies for most recent patient allergy list.
        Pain:         Not Applicable

OBJECTIVE:
Temperature:
    Date            Time             Fahrenheit     Celsius Location             Provider
    06/05/2020      08:19 MIL              98.1        36.7 Oral                 Udegbunam, Ukamaka M NP-C

Pulse:
    Date          Time             Rate Per Minute          Location             Rhythm      Provider
    06/05/2020 08:19 MIL                            87                                       Udegbunam, Ukamaka M NP-C
Respirations:
    Date                 Time             Rate Per Minute Provider
    06/05/2020           08:19 MIL                          16 Udegbunam, Ukamaka M NP-C
Blood Pressure:
    Date       Time             Value          Location        Position        Cuff Size     Provider
    06/05/2020 08:25 MIL        184/106        Left Arm        Sitting         Adult-large   Udegbunam, Ukamaka M NP-C
    06/05/2020 08:19 MIL        178/100        Right Arm       Sitting         Adult-large   Udegbunam, Ukamaka M NP-C
SaO2:
    Date            Time             Value(%) Air                         Provider
    06/05/2020      08:19 MIL             100 Room Air                    Udegbunam, Ukamaka M NP-C
Height:
    Date       Time                  Inches            Cm        Provider
    06/05/2020 08:19 MIL                71.0         180.3       Udegbunam, Ukamaka M NP-C
Weight:
    Date            Time                Lbs         Kg Waist Circum. Provider
    06/05/2020      08:19 MIL          295.0      133.8              Udegbunam, Ukamaka M NP-C

Exam:
   General
      Affect
             Case 09:04
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Inmate Name: BRADLEY, BENJAMIN EDWARD H                                                  Reg #: 50878-039
Date of Birth:      /1983             Sex:      M   Race: BLACK                          Facility: MIL
Encounter Date: 06/05/2020 08:15      Provider: Udegbunam, Ukamaka M                     Unit:     B02

Exam:
             Yes: Pleasant, Cooperative
        Appearance
           Yes: Appears Well, Alert and Oriented x 3
    Neck
       General
          Yes: Within Normal Limits
        Vascular
           No: Carotid Bruits
    Pulmonary
       Observation/Inspection
           Yes: Within Normal Limits
        Auscultation
           Yes: Clear to Auscultation, Vesicular Breath Sounds Bilaterally
    Cardiovascular
        Observation
           Yes: Within Normal Limits
        Auscultation
            Yes: Regular Rate and Rhythm (RRR), Normal S1 and S2
            No: M/R/G
    Peripheral Vascular
        Legs
           No: Pitting Edema, Non-pitting edema
    Abdomen
       Inspection
           Yes: Within Normal Limits
        Auscultation
           Yes: Normo-Active Bowel Sounds
        Palpation
            Yes: Within Normal Limits

ASSESSMENT:

Essential (primary) hypertension, I10 - Current
Obesity, E669 - Current - BMI 41.1

PLAN:
New Medication Orders:
Rx#          Medication                                                                           Order Date
             amLODIPine Tablet                                                                    06/05/2020 08:15
                  Prescriber Order:        5 mg Orally - daily x 90 day(s) -- Take 5 mg by mouth daily to control
                                           blood pressure
                     Indication: Essential (primary) hypertension
New Laboratory Requests:
   Details                                               Frequency             Due Date             Priority
   Chronic Care Clinics-Hypertension-CBC w/diff          One Time              06/26/2020 00:00     Routine
             Case 09:04
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Inmate Name: BRADLEY, BENJAMIN EDWARD H                                                    Reg #: 50878-039
Date of Birth:      /1983             Sex:      M   Race: BLACK                            Facility: MIL
Encounter Date: 06/05/2020 08:15      Provider: Udegbunam, Ukamaka M                       Unit:     B02

   Chronic Care Clinics-Hypertension-Lipid Profile
   Lab Tests - Short List-General-Hemoglobin A1C
   Chronic Care Clinics-Hypertension-
   Comprehensive Metabolic Profile (CMP)
   Chronic Care Clinics-Hypertension-Urinalysis
   w/Reflex to Microscopic
       Labs requested to be reviewed by:           Fateh Hyder, Syed Regional Medical Director/NCRO
New Radiology Request Orders:
   Details                                   Frequency       End Date          Due Date             Priority
   General Radiology-Chest-PA/Lateral        One Time                          06/19/2020           Routine
       Specific reason(s) for request (Complaints and findings):
               HTN screening
New Non-Medication Orders:
Order                   Frequency                Duration           Details                           Ordered By
EKG                     One Time                                    Please perform within the next 30 Udegbunam,
                                                                    days HTN screening                Ukamaka M NP-C
                     Order Date:           06/05/2020
Disposition:
    Follow-up at Sick Call as Needed
    Return Immediately if Condition Worsens
    Return To Sick Call if Not Improved

Other:
    HTN: will start amlodipine 5 mg., will gradually increase in CCC visit. Labs, EKG and X- ray ordered. Will f/u with CCC
    visit. Side effects of medication addressed with the patient. Recommended weight loss, exercise and low salt diet.

Patient Education Topics:
    Date Initiated Format                       Handout/Topic                              Provider               Outcome
    06/05/2020     Counseling                   Diagnosis                                  Udegbunam,             Verbalizes
                                                                                           Ukamaka                Understanding
    06/05/2020      Counseling                  Exercise                                   Udegbunam,             Verbalizes
                                                                                           Ukamaka                Understanding
    06/05/2020      Counseling                  Risk vs. benefit of treatment              Udegbunam,             Verbalizes
                                                                                           Ukamaka                Understanding
    06/05/2020      Counseling                  Weight Loss                                Udegbunam,             Verbalizes
                                                                                           Ukamaka                Understanding
    06/05/2020      Counseling                  Diet                                       Udegbunam,             Verbalizes
                                                                                           Ukamaka                Understanding
    06/05/2020      Counseling                  Plan of Care                               Udegbunam,             Verbalizes
                                                                                           Ukamaka                Understanding

Copay Required:No                       Cosign Required: No
Telephone/Verbal Order: No
Completed by Udegbunam, Ukamaka M NP-C on 06/05/2020 09:04




             Case 09:04
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